               IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF IOWA
                         WESTERN DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                         No. 10-CR-4066-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
JASON LEE HARTZ,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                 I.     INTRODUCTION AND BACKGROUND

      On August 18, 2010, a one count Indictment was filed in

the above-referenced case (Docket No. 3).

      Count 1 of the Indictment alleges that from a date

unknown but in or about 2007 and continuing through July 2010,

in the Northern District of Iowa, defendant Jason Lee Hartz

and a co-defendant, did knowingly and unlawfully combine,

conspire, confederate and agree with each other and other

persons, known and unknown to the Grand Jury, to possess with

the intent to manufacture and distribute 100 or more marijuana

plants, a Schedule I controlled substance, in violation of

Title   21,    United    States    Code,      Sections     841(a)(1)          and

841(b)(1)(B).

      This was in violation of Title 21, United States Code,

Section 846.



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    On October 25, 2010, defendant Jason Lee Hartz appeared

before Chief United States Magistrate Judge Paul A. Zoss and

entered a plea of guilty to Count 1 of the Indictment.                In the

Report and Recommendation (Docket No. 42, 10/25/2010), Chief

United States Magistrate Judge Paul A. Zoss recommends that

defendant Jason Lee Hartz’s guilty plea be accepted.                         No

objections to Judge Zoss’s Report and Recommendation were

filed.   The Court, therefore, undertakes the necessary review

to accept defendant Jason Lee Hartz’s plea in this case.

                            II.    ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).          Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

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          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).

    In this case, no objections have been filed, and it

appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

reject or modify them.

    IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief   Magistrate    Judge     Zoss’s   Report    and    Recommendation

(Docket No. 42), and accepts defendant Jason Lee Hartz’s plea

of guilty in this case to Count 1 of the Indictment filed on

August 18, 2010 (Docket No. 3).

    IT IS SO ORDERED this 30th day of November, 2010.


                                  __________________________________
                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




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